                      Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 1 of 38


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Texas
                                          (State)                                                                                ☐ Check if this is an
Case number (if known):                                       Chapter     11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                             Katerra Inc.


                                               N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                 XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                  Mailing address, if different from principal place
                                                                                                    of business
                                       9305 East Via de Ventura
                                       Number             Street                                    Number         Street


                                                                                                    P.O. Box
                                       Scottsdale,                      Arizona    85258
                                       City                              State     Zip Code         City                         State     Zip Code

                                                                                                    Location of principal assets, if different from
                                                                                                    principal place of business
                                       Maricopa County
                                       County                                                       Number         Street




                                                                                                    City                         State     Zip Code




5. Debtor’s website (URL)              www.katerra.com

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                     Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 2 of 38
Debtor            Katerra Inc.                                                   Case number (if known)
           Name



                                         A. Check One:
7.   Describe debtor’s business
                                         ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                         ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                         ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                         ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                         ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                         ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         ☒ None of the above

                                         B. Check all that apply:
                                         ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                         ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                         ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                         236116 - New Multifamily Housing Construction (except For-Sale Builders)

8. Under which chapter of the            Check One:
   Bankruptcy Code is the
   debtor filing?                        ☐ Chapter 7

                                         ☐ Chapter 9

      A debtor who is a “small           ☒ Chapter 11. Check all that apply:
      business debtor” must
                                                           ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      check the first sub-box. A                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
      debtor as defined in §                                 are less than $2,725,625. If this sub-box is selected, attach the most recent balance
      1182(1) who elects to                                  sheet, statement of operations, cash-flow statement, and federal income tax return or
      proceed under subchapter                               if any of these documents do not exist, follow the procedure in 11 U.S.C. §
      V of chapter 11 (whether                               1116(1)(B).
      or not the debtor is a
                                                           ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
      “small business debtor”)
                                                             liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
      must check the second                                  and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
      sub-box.                                               selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                             statement, and federal income tax return or if any of these documents do not exist,
                                                             follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                           ☐ A plan is being filed with this petition.

                                                           ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).
                                                           ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                             Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                           ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                         ☐ Chapter 12

9. Were prior bankruptcy cases        ☒ No
   filed by or against the debtor     ☐ Yes.    District                          When                          Case number
   within the last 8 years?                                                                 MM/DD/YYYY
     If more than 2 cases, attach a             District                          When                          Case number
     separate list.                                                                         MM/DD/YYYY




     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                    Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 3 of 38
Debtor           Katerra Inc.                                                         Case number (if known)
          Name



10. Are any bankruptcy cases           ☐ No          Debtor
    pending or being filed by a        ☒ Yes.                     See Rider 1                                       Relationship     Affiliate
    business partner or an
    affiliate of the debtor?                         District     Southern District of Texas
   List all cases. If more than 1,                                                                                  When             06/06/2021
   attach a separate list.                                                                                                           MM / DD / YYYY
                                                   Case number, if known _______________________

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☐   Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☒   A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal
    property that needs                          Why does the property need immediate attention? (Check all that apply.)
    immediate attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                 ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                        options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                       Number         Street



                                                                                       City                                State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.         Insurance agency

                                                                Contact name
                                                                Phone




                       Statistical and administrative information

13. Debtor's estimation of           Check one:
    available funds (on a
    consolidated basis)              ☒ Funds will be available for distribution to unsecured creditors.
                                     ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of              ☐      1-49                         ☐      1,000-5,000                     ☐    25,001-50,000
    creditors (on a                  ☐      50-99                        ☐      5,001-10,000                    ☐    50,001-100,000
    consolidated basis)              ☐      100-199                      ☒      10,001-25,000                   ☐    More than 100,000
                                     ☐      200-999




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                    Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 4 of 38
Debtor           Katerra Inc.                                                      Case number (if known)
          Name



15. Estimated assets (on a          ☐     $0-$50,000                 ☐     $1,000,001-$10 million                  ☒    $500,000,001-$1 billion
    consolidated basis)             ☐     $50,001-$100,000           ☐     $10,000,001-$50 million                 ☐    $1,000,000,001-$10 billion
                                    ☐     $100,001-$500,000          ☐     $50,000,001-$100 million                ☐    $10,000,000,001-$50 billion
                                    ☐     $500,001-$1 million        ☐     $100,000,001-$500 million               ☐    More than $50 billion



16. Estimated liabilities (on       ☐     $0-$50,000                  ☐    $1,000,001-$10 million                  ☐    $500,000,001-$1 billion
    a consolidated basis)           ☐     $50,001-$100,000            ☐    $10,000,001-$50 million                 ☒    $1,000,000,001-$10 billion
                                    ☐     $100,001-$500,000           ☐    $50,000,001-$100 million                ☐    $10,000,000,001-$50 billion
                                    ☐     $500,001-$1 million         ☐    $100,000,001-$500 million               ☐    More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of      The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of      petition.
    debtor
                                      I have been authorized to file this petition on behalf of the debtor.
                                      I have examined the information in this petition and have a reasonable belief that the information is true and
                                      correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                      Executed on         06/06/2021
                                                           MM/ DD / YYYY


                                           /s/ Marc Liebman                                                  Marc Liebman
                                           Signature of authorized representative of debtor               Printed name

                                           Title    Chief Transformation Officer




18. Signature of attorney                  /s/ Matthew D. Cavenaugh                                        Date         06/06/2021
                                           Signature of attorney for debtor                                            MM/DD/YYYY



                                           Matthew D. Cavenaugh
                                           Printed name
                                           Jackson Walker LLP
                                           Firm name
                                           1401 McKinney St., Suite 1900
                                           Number                 Street
                                           Houston                                                                 Texas              77010
                                           City                                                                    State                ZIP Code
                                           (713) 752-4200                                                          mcavenaugh@jw.com
                                           Contact phone                                                              Email address
                                           24062656                                           Texas
                                           Bar number                                          State




   Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
                 Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 5 of 38




 Fill in this information to identify the case:
                                                                       ,
 United States Bankruptcy Court for the:
                           Southern District of Texas
                                       (State)                                                             ☐ Check if this is an
 Case number (if known):                                Chapter   11                                           amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
chapter 11 case of Katerra Inc.

    1.    Katerra Inc.                                                     18.   Katerra Engineering LLC
    2.    Katerra Inc. (Cayman)                                            19.   Katerra Pearson Ranch Investment LLC
    3.    AlgoSquare Inc.                                                  20.   Katerra Pegasus RiNo Investment LLC
    4.    Apollo Technologies, Inc.                                        21.   Katerra RO2 Knipe Village Investment LLC
    5.    Bristlecone 28th Ave, LLC                                        22.   Katerra XSC Houston Investment LLC
    6.    Bristlecone Residential, LLC                                     23.   Kirkland 1 Project MM LLC
    7.    CAPGro Construction Management, LLC                              24.   Kirkland 1 Project LLC
    8.    Construction Assurance Ltd.                                      25.   Kirkland 2 Project MM LLC
    9.    Dangoo Electronics (USA) Co., Ltd.                               26.   Kirkland 2 Project LLC
    10.   Edge @ LoHi, LLC                                                 27.   Lord, Aeck & Sargent, Inc.
    11.   Hillsboro 1 Project MM LLC                                       28.   Perimeter Building Services LLC
    12.   Hillsboro 1 Project LLC                                          29.   Roots Software, LLC
    13.   Hillsboro 2 Project MM LLC                                       30.   Skyview Concrete LLC
    14.   Hillsboro 2 Project LLC                                          31.   UEB Builders, Inc.
    15.   Katerra Affordable Housing LLC                                   32.   Valpico Glenbriar Apartments LLC
    16.   Katerra Architecture LLC                                         33.   WM Aviation, LLC
    17.   Katerra Construction LLC
         Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 6 of 38




                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                           )
In re:                                     )    Chapter 11
                                           )
KATERRA INC.,                              )    Case No. 21-________ (___)
                                           )
                      Debtor.              )
                                           )

                            LIST OF EQUITY SECURITY HOLDERS

     Debtor       Equity Holders       Address of Equity Holder         Percentage of
                                                                         Equity Held
                 Katerra Inc.          9305 East Via de Ventura
Katerra Inc.                                                                 100%
                 (Cayman)              Scottsdale, Arizona 85258
          Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 7 of 38



                              UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 KATERRA INC.,                                        )    Case No. 21-________ (___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

     Katerra Inc. (Cayman)                                                       100%
Debtor Katerra Inc, et al.,__________________
                                                         Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page     8 of 38
                                                                                                               Case number (if known)_____________________________________




        Fill in this information to identify the case:
        Debtor name: Katerra Inc, et al.,
        United States Bankruptcy Court for the: Southern District of Texas
        Case number (If known): ______________                                                                                                                                                                                   Check if this is an amended
                                                                                                                                                                                                                                 filing

        Official Form 204
        Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders
        12/15


        A list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in
        11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 40 largest unsecured claims.

        Name of creditor and complete mailing address, including                         Name, telephone number, and email                     Nature of the claim (for example,                    Indicate if claim is                              Amount of unsecured claim
                               zip code                                                     address of creditor contact                      trade debts, bank loans, professional                     contingent,               if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                                              services, and government contracts)                    unliquidated, or                  If claim is partially secured, fill in total claim amount and
                                                                                                                                                                                                         disputed                  deduction for value of collateral or setoff to calculate unsecured
                                                                                                                                                                                                                                                                   claim.

                                                                                                                                                                                                                                   Total claim, if           Deduction for value                    A
                                                                                                                                                                                                                                  partially secured         of collateral or setoff Unsecured claim


      STILES MACHINERY INC                                                           CHRISTIAN VOLLMERS
      ATTN: CHRISTIAN VOLLMERS                                                       PRESIDENT
    1 3965 44TH ST SE                                                                EMAIL - cvollmers@stilesmachinery.com                              EQUIPMENT PURCHASE                                                                                                                $            5,922,131
      GRAND RAPIDS, MI 49512-3941                                                    PHONE - 616-698-2336
      UNITED STATES



      HADDAD PLUMBING & HEATING
                                                                                     SHALLAN HADDAD
      ATTN: SHALLAN HADDAD
                                                                                     PRESIDENT
      1223 BROAD STREET
    2                                                                                EMAIL - shaddad@haddadplumbing.com                                     TRADE PAYABLE                                                                                                                 $            5,425,951
      PO BOX 2280
                                                                                     PHONE - 973-424-1177
      NEWARK, NJ 07114
      UNITED STATES


        THYSSENKRUPP ELEVATOR CORP.                                                  KEVIN BACKUS
        ATTN: KEVIN BACKUS                                                           SENIOR VICE PRESIDENT, GENERAL
        3100 INTERSTATE NORTH CIR SE                                                 COUNSEL, AND CORPORATE SECRETARY
    3                                                                                                                                                       TRADE PAYABLE                                                                                                                 $            4,142,667
        SUITE 500                                                                    EMAIL - kevin.backus@thyssenkrupp.com
        ATLANTA, GA 30339                                                            PHONE - 248-233-5600
        UNITED STATES


      CONCRETE SYSTEMS                                                               MICHAEL WORDEN
      ATTN: MICHAEL WORDEN                                                           PRESIDENT
    4 110 PARIS STREET                                                               EMAIL - mworden@csigroup.com                                           TRADE PAYABLE                                                                                                                 $            3,928,259
      NEWARK, NJ 07105                                                               PHONE - 603-889-4163
      UNITED STATES



      FM CONSTRUCTION GROUP LLC                                                      KEITH CHEBUSKE
      ATTN: KEITH CHEBUSKE                                                           ASSISTANT PROJECT MANAGER
    5 100 DR. MARTIN LUTHER KING BLVD                                                EMAIL - support@fmhome.us                                              TRADE PAYABLE                                                                                                                 $            3,748,331
      EAST ORANGE, NJ 07017                                                          PHONE - 973-989 1616
      UNITED STATES


      DONALD DRYWALL LLC
                                                                                     CARLOS RAMIREZ
      ATTN: CARLOS RAMIREZ
                                                                                     MANAGER
      646 CROSS ST, BLDG B
    6                                                                                EMAIL - contact@donalddrywall.com                                      TRADE PAYABLE                                                                                                                 $            3,473,077
      UNIT # 26
                                                                                     PHONE - 732-994 5439; 732-814 6671
      LAKEWOOD, NJ 08701
                                                                                     FAX - 732-987 5440
      UNITED STATES


      JM3 CONSTRUCTION, LLC
      ATTN: JOHN PATULOT                                                             JOHN PATULOT
      117 STATE HIGHWAY 35                                                           PROJECT MANAGER
    7                                                                                                                                                       TRADE PAYABLE                                                                                                                 $            2,854,322
      SUITE 1                                                                        PHONE - 732-345-7404
      KEYPORT, NJ 07735
      UNITED STATES


      SANT-TEC ELECTRIC INC.
                                                                                     MANNY MONTESINO
      ATTN: MANNY MONTESINO
                                                                                     PRESIDENT
    8 2017 41ST STREET                                                                                                                                      TRADE PAYABLE                                                                                                                 $            2,797,772
                                                                                     PHONE - 201-865-4100
      NORTH BERGEN, NJ 07047
      UNITED STATES


      PRESTIGE PLUMBING, INC.
                                                                                     WILLIAM WREDE
      ATTN: WILLIAM WREDE
                                                                                     PRESIDENT
      1040 RT. 10 WEST
    9                                                                                EMAIL - prestigeplmbg@aol.com                                          TRADE PAYABLE                                                                                                                 $            2,763,587
      SUITE 101
                                                                                     PHONE - 973-927-1524
      RANDOLPH, NJ 07869
      UNITED STATES


       AMERICAN ARCHITECTURAL WINDOW                                                 DONNA STEVENSON
       ATTN: DONNA STEVENSON                                                         DIRECTOR OF OPERATIONS
       156 WOODPORT                                                                  EMAIL -
    10                                                                                                                                                      TRADE PAYABLE                                                                                                                 $            2,615,167
       SUITE 1A                                                                      customerservice@americanarchitectural.com
       SPARTA, NJ 07871                                                              PHONE - 800-495-8175
       UNITED STATES                                                                 FAX - 973-726-4921

    A. On a consolidated basis. The information herein shall not constitute an admission of liability by, nor is it binding on, any Debtors with respect to all or any portion of the claims listed below. Moreover, nothing herein shall affect any Debtor's right to challenge the amount or characterization of
       any claim at a later date.




Official Form 204                                                                                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                                                                                                                page 1
Debtor Katerra Inc, et al.,__________________
                                                   Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page     9 of 38
                                                                                                         Case number (if known)_____________________________________




        Name of creditor and complete mailing address, including                         Name, telephone number, and email                     Nature of the claim (for example,                    Indicate if claim is                              Amount of unsecured claim
                               zip code                                                     address of creditor contact                      trade debts, bank loans, professional                     contingent,               if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                                              services, and government contracts)                    unliquidated, or                  If claim is partially secured, fill in total claim amount and
                                                                                                                                                                                                         disputed                  deduction for value of collateral or setoff to calculate unsecured
                                                                                                                                                                                                                                                                   claim.

                                                                                                                                                                                                                                   Total claim, if           Deduction for value                    A
                                                                                                                                                                                                                                  partially secured         of collateral or setoff Unsecured claim
       AMERICAN PANEL TEC
                                                                                     JOHN LANZILOTTA
       ATTN: JOHN LANZILOTTA
                                                                                     PRESIDENT
       1640 NEW MARKET AVENUE
    11                                                                               EMAIL - sales@americanpaneltec.com                                     TRADE PAYABLE                                                                                                                 $            2,281,875
       BUILDING 1-A
                                                                                     PHONE - 732-968-0555
       SOUTH PLAINFIELD, NJ 07080
                                                                                     FAX - 732-968-4777
       UNITED STATES


       SUNTEC CONCRETE, INC.
                                                                                     JERRY BARNIER
       ATTN: JERRY BARNIER
                                                                                     PRESIDENT
       23751 N. 23RD AVE
    12                                                                               EMAIL - jerry@suntecconcrete.com                                       TRADE PAYABLE                                                                                                                 $            2,180,123
       SUITE 175
                                                                                     PHONE - 602-997-0937
       PHOENIX, AZ 85085
       UNITED STATES


       JERSEY PRECAST                                                                AMIR ULISLAM
       ATTN: AMIR ULISLAM                                                            OWNER AND PRESIDENT
    13 853 NOTTINGHAM WAY                                                            EMAIL - jrzprecast@aol.com; mulislam@aol.com                           TRADE PAYABLE                                                                                                                 $            2,130,218
       HAMILTON TOWNSHIP, NJ 08638-4447                                              PHONE - 609-689-3700; 540-439-8966
       UNITED STATES



       TDINDUSTRIES                                                                  HAROLD MACDOWELL
       ATTN: HAROLD MACDOWELL                                                        CHIEF EXECUTIVE OFFICER, DIRECTOR
    14 1888 E. BROADWAY RD.                                                          EMAIL - harold.macdowell@tdindustries.com                              TRADE PAYABLE                                                                                                                 $            2,001,425
       TEMPE, AZ 85282                                                               PHONE - 972-888-9500
       UNITED STATES



       HOME DEPOT CREDIT SERVICES                                                    TED DECKER
       ATTN: TED DECKER                                                              PRESIDENT AND COO
                                                                                                                                                                                                                                                                                          $           2,000,000
    15 2455 PACES FERRY ROAD NW                                                      EMAIL - ted_decker@homedepot.com                                       TRADE PAYABLE                             UNLIQUIDATED
       ATLANTA, GA 30339                                                                                                                                                                                                                                                                             (estimated)
       UNITED STATES


       IAP ENCLOSURE SYSTEMS, LLC
                                                                                     VINCE KLEES
       ATTN: VINCE KLEES
                                                                                     PRESIDENT
       550 WARRENVILLE RD.
    16                                                                               EMAIL - vince@iapenclosures.com                                        TRADE PAYABLE                                                                                                                 $            1,958,100
       SUITE 230
                                                                                     PHONE - 312-239-0019
       LISLE, IL 60532
                                                                                     FAX - 773-922-1610
       UNITED STATES


       COSTA ELECTRICAL CONTRACTORS
                                                                                     VICTOR COSTA
       ATTN: VICTOR COSTA
                                                                                     PRESIDENT
       303 S. BROADWAY
    17                                                                               EMAIL - js@shehadicf.com                                               TRADE PAYABLE                                                                                                                 $            1,945,274
       STE. 126
       TARRYTOWN, NY 10591
       UNITED STATES


       ADVANCED ELECTRICAL CONTRACTOR
       ATTN: VICTOR RUPENSKI                                                         VICTOR RUPENSKI
       51 GILES AVE                                                                  OWNER AND VICE PRESIDENT
    18                                                                                                                                                      TRADE PAYABLE                                                                                                                 $            1,921,347
       SUITE 9                                                                       PHONE - 203-627-8182; 203-234-3945
       NORTH HAVEN, CT 06473                                                         FAX - 203-985-2983
       UNITED STATES


       APODACA WALL SYSTEMS, INC.                                                    ERNEST MIERA
       ATTN: ERNEST MIERA                                                            MANAGER
    19 5740 W. BUCKEYE RD                                                            EMAIL - ernie@apodacainc.com                                           TRADE PAYABLE                                                                                                                 $            1,864,095
       PHOENIX, AZ 85043                                                             PHONE - 602-269-7744
       UNITED STATES



       ARCO CONSTRUCTION                                                             JEFF COOK
       ATTN: JEFF COOK                                                               CHIEF EXECUTIVE OFFIER
    20 15 FAIRFIELD PLACE                                                            EMAIL - jcook@arco1.com                                                TRADE PAYABLE                                                                                                                 $            1,853,184
       WEST CALDWELL, NJ 07006                                                       PHONE - 314-555-1212
       UNITED STATES



       PROLOGIS                                                                      ELVA GUITRON
       ATTN: ELVA GUITRON                                                            PROPERTY MANAGER
    21 815 INTERNATIONAL PARKWAY                                                     EMAIL - eguitron@prologis.com                                LEASE TENANT IMPROVEMENTS                                                                                                               $            1,835,947
       TRACY, CA 95377                                                               PHONE - 408-292-0966
       UNITED STATES



       AIR GROUP LLC                                                                 PATRICK CONFORTI
       ATTN: PATRICK CONFORTI                                                        MANAGER AND DIRECTOR
    22 1 PRINCE ROAD                                                                 EMAIL - patrick@airgroupllc.com                                        TRADE PAYABLE                                                                                                                 $            1,707,348
       WHIPPANY, NJ 07981                                                            PHONE - 201-887-5090
       UNITED STATES


       DELOITTE & TOUCHE LLP                                                         ANTHONY VIEL
       ATTN: ANTHONY VIEL                                                            CHIEF EXECUTIVE OFFICER
    23 555 MISSION ST                                                                EMAIL - aviel@deloitte.com                                             TRADE PAYABLE                                                                                                                 $            1,697,959
       SAN FRANCISCO, CA 94105-0920
       UNITED STATES

    A. On a consolidated basis. The information herein shall not constitute an admission of liability by, nor is it binding on, any Debtors with respect to all or any portion of the claims listed below. Moreover, nothing herein shall affect any Debtor's right to challenge the amount or characterization of
       any claim at a later date.




Official Form 204                                                                                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                                                                                                                page 2
Debtor Katerra Inc, et al.,__________________
                                                 Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page   10 of 38
                                                                                                       Case number (if known)_____________________________________




        Name of creditor and complete mailing address, including                         Name, telephone number, and email                     Nature of the claim (for example,                    Indicate if claim is                              Amount of unsecured claim
                               zip code                                                     address of creditor contact                      trade debts, bank loans, professional                     contingent,               if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                                              services, and government contracts)                    unliquidated, or                  If claim is partially secured, fill in total claim amount and
                                                                                                                                                                                                         disputed                  deduction for value of collateral or setoff to calculate unsecured
                                                                                                                                                                                                                                                                   claim.

                                                                                                                                                                                                                                   Total claim, if           Deduction for value                    A
                                                                                                                                                                                                                                  partially secured         of collateral or setoff Unsecured claim
       CONSTRUCTION PROS INTERNATIONAL                                               AL BEST
       ATTN: AL BEST                                                                 MANAGING PARTNER
    24 19 CHAPEL STREET                                                              EMAIL - info@constructionprosnj.com                                    TRADE PAYABLE                                                                                                                 $            1,653,261
       NEWARK, NJ 07105                                                              PHONE - 855-713-1088; 888-377-3176
       UNITED STATES


       PAXION PARTNERS LP                                                            DUNCAN ROBERTSON
       ATTN: DUNCAN ROBERTSON                                                        PARTNER AND CFO
                                                                                                                                                LEASE TERMINATION SETTLEMENT
    25 2494 SAND HILL RD                                                             EMAIL - contact@paxion.com                                                                                                                                                                           $            1,625,607
                                                                                                                                                          PAYABLE
       MENLO PARK, CA 94025-6926                                                     PHONE - 650-446-7850
       UNITED STATES



       SHEHADI COMM. FLOORING                                                        JOHN SHEHADI
       ATTN: JOHN SHEHADI                                                            PRESIDENT
    26 23 DANIEL ROAD                                                                EMAIL - mromanoff@romanoffgroup.cc                                     TRADE PAYABLE                                                                                                                 $            1,625,241
       FAIRFIELD, NJ 07004                                                           PHONE - 614-367-2144
       UNITED STATES


       INTEGRATED MECHANICAL SOLUTION
       ATTN: DAVID DARCHE                                                            DAVID DARCHE
       186 WOOD AVENUE SOUTH                                                         MEMBER
    27                                                                                                                                                      TRADE PAYABLE                                                                                                                 $            1,593,807
       1ST FLOOR                                                                     PHONE - 732-635-0500
       ISELIN, NJ 08830
       UNITED STATES



       OVERLAND GROUP LLC                                                            RON GIARD
       ATTN: RON GIARD                                                               PARTNER AND MEMBER
    28 26319 SE KENT KANGLEY RD                                                      EMAIL - ron@gia-ho.com                                                 TRADE PAYABLE                                                                                                                 $            1,548,353
       RAVENSDALE, WA 98051-9426                                                     PHONE - 206-793-5800
       UNITED STATES




       GENERAL ELECTRIC COMPANY                                                      LARRY CULP
       ATTN: LARRY CULP                                                              CHAIRMAN AND CHIEF EXECUTIVE OFFICER
    29 4000 BUECHEL BANK RD                                                          EMAIL - larry.culp@ge.com                                              TRADE PAYABLE                                                                                                                 $            1,519,565
       LOUISVILLE, KY 40225                                                          PHONE - 203-944-3000
       UNITED STATES




       BERGELECTRIC CORP                                                             LOUIS WYLER
       ATTN: LOUIS WYLER                                                             REGIONAL VICE PRESIDENT
    30 3182 LIONSHEAD AVENUE                                                         EMAIL - lwyler@bergelectric.com                                        TRADE PAYABLE                                                                                                                 $            1,516,440
       CARLSBAD, CA 92010                                                            PHONE - 512-605-1546
       UNITED STATES




       WITH PRIDE AC & HEATING, INC
                                                                                     MICHAEL DOLAN
       ATTN: MICHAEL DOLAN
                                                                                     OWNER
    31 90 VERDI STREET                                                                                                                                      TRADE PAYABLE                                                                                                                 $            1,436,107
                                                                                     PHONE - 516-731-2573
       FARMINGDALE, NY 11735
                                                                                     FAX - 516-731-0576
       UNITED STATES



       BOLOS AND ASSOCIATES, LLC
                                                                                     LAWRENCE J. HILTON AND ROBERT D. HUNT
       ATTN: LAWRENCE J. HILTON AND ROBERT D. HUNT
                                                                                     LEGAL COUNSEL
       C/O ONE LLP                                                                                                                                                                                     CONTINGENT,
                                                                                     EMAIL - lhilton@onellp.com; rhunt@onellp.com
    32 4000 MACARTHUR BOULEVARD                                                                                                                        EARN OUT AGREEMENT                             UNLIQUIDATED,                                                                           UNDETERMINED
                                                                                     PHONE - 949-502-2870; 949-502-2876; 949-444-
       EAST TOWER, SUITE 500                                                                                                                                                                            DISPUTED
                                                                                     5973
       NEWPORT BEACH, CA 92660
                                                                                     FAX - 949-258-5081
       UNITED STATES


       CAPITOL INDEMNITY CORPORATION
                                                                                     ANDREW DOLL
       ATTN: ANDREW DOLL
                                                                                     PRESIDENT & CEO                                                                                                   CONTINGENT,
       1600 ASPEN COMMONS
    33                                                                               EMAIL - adoll@ciginsurance.com                            POTENTIAL INDEMNIFICATION CLAIM                        UNLIQUIDATED,                                                                           UNDETERMINED
       SUITE 300
                                                                                                                                                                                                        DISPUTED
       MIDDLETON, WI 53562
       UNITED STATES

       EVEREST REINSURANCE COMPANY
       ATTN: JIM WILLIAMSON                                                          JIM WILLIAMSON
       141 FRONT STREET                                                              CHIEF OPERATING OFFICER                                                                                           CONTINGENT,
    34 P.O BOX HM 845                                                                EMAIL - jim.williamson@everestre.com                      POTENTIAL INDEMNIFICATION CLAIM                        UNLIQUIDATED,                                                                           UNDETERMINED
       SEON PLACE, 4TH FLOOR                                                         PHONE - 215-640-9709                                                                                               DISPUTED
       HAMILTON, HM-19
       BERMUDA
       IAT INSURANCE GROUP, INC / INSURANCE FIDELITY
       INSURANCE COMPANY (IFIC) / HARCO NATIONAL INSURANCE
       COMPANY
       ATTN: DAVE PIRRUNG                                  DAVE PIRRUNG
       ONE NEWARK CENTER, 20TH FLOOR                       CHIEF FINANCIAL OFFICER                                                                                                                     CONTINGENT,
    35 NEWARK, NJ 07102                                    EMAIL - dpirrung@ofc-wic.com                                                        POTENTIAL INDEMNIFICATION CLAIM                        UNLIQUIDATED,                                                                           UNDETERMINED
       UNITED STATES                                                                                                                                                                                    DISPUTED

       10777 NORTHWEST FREEWAY, SUITE 700
       HOUSTON, TX 77092-7313
       UNITED STATES
    A. On a consolidated basis. The information herein shall not constitute an admission of liability by, nor is it binding on, any Debtors with respect to all or any portion of the claims listed below. Moreover, nothing herein shall affect any Debtor's right to challenge the amount or characterization of
       any claim at a later date.




Official Form 204                                                                                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                                                                                                                page 3
Debtor Katerra Inc, et al.,__________________
                                                 Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page   11 of 38
                                                                                                       Case number (if known)_____________________________________




        Name of creditor and complete mailing address, including                         Name, telephone number, and email                     Nature of the claim (for example,                    Indicate if claim is                              Amount of unsecured claim
                               zip code                                                     address of creditor contact                      trade debts, bank loans, professional                     contingent,               if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                                              services, and government contracts)                    unliquidated, or                  If claim is partially secured, fill in total claim amount and
                                                                                                                                                                                                         disputed                  deduction for value of collateral or setoff to calculate unsecured
                                                                                                                                                                                                                                                                   claim.

                                                                                                                                                                                                                                   Total claim, if           Deduction for value                    A
                                                                                                                                                                                                                                  partially secured         of collateral or setoff Unsecured claim

       LIBERTY MUTUAL INSURANCE COMPANY                                              DAVID LONG
       ATTN: DAVID LONG                                                              CHAIRMAN AND CHIEF EXECUTIVE OFFICER                                                                              CONTINGENT,
                                                                                                                          POTENTIAL INDEMNIFICATION CLAIM /
    36 175 BERKELEY ST                                                               EMAIL - david.long@libertymutual.com                                                                             UNLIQUIDATED,                                                                         UNDETERMINED
                                                                                                                          WORKERS' COMPENSATION INSURANCE
       BOSTON, MA 02116-5108                                                         PHONE - 972-756-0609                                                                                               DISPUTED
       UNITED STATES



       MERCHANTS BONDING COMPANY (MUTUAL)                                            BOB ZAK
       ATTN: BOB ZAK                                                                 PRESIDENT & CEO                                                                                                   CONTINGENT,
    37 250 MAIN STREET                                                               EMAIL - rzak@merchantsgroup.com                           POTENTIAL INDEMNIFICATION CLAIM                        UNLIQUIDATED,                                                                         UNDETERMINED
       BUFFALO, NY 14202                                                             PHONE - 845-728-4113                                                                                               DISPUTED
       UNITED STATES



       OLD REPUBLIC GENERAL INSURANCE GROUP                                          KARL W. MUELLER
       ATTN: KARL W. MUELLER                                                         SENIOR VICE PRESIDENT AND CFO                                                                                     CONTINGENT,
    38 307 NORTH MICHIGAN AVENUE                                                     EMAIL - kmueller@oldrepublic.com                          POTENTIAL INDEMNIFICATION CLAIM                        UNLIQUIDATED,                                                                         UNDETERMINED
       CHICAGO, IL 60601                                                             PHONE - 312-762-4229                                                                                               DISPUTED
       UNITED STATES


       ONE BEACON SURETY GROUP
                                                                                     MICHAEL MILLER
       ATTN: MICHAEL MILLER
                                                                                     PRESIDENT & CEO                                                                                                   CONTINGENT,
       605 HIGHWAY 169 NORTH
    39                                                                               EMAIL - tmiller@onebeacon.com                             POTENTIAL INDEMNIFICATION CLAIM                        UNLIQUIDATED,                                                                         UNDETERMINED
       SUITE 800
                                                                                                                                                                                                        DISPUTED
       PLYMOUTH, MN 55441
       UNITED STATES


       ZURICH AMERICAN INSURANCE COMPANY
                                                                                     GEORGE QUINN
       ATTN: GEORGE QUINN
                                                                                     CHIEF FINANCIAL OFFICER                                                                                           CONTINGENT,
       CORPORATE CENTER
    40                                                                               EMAIL - george.quinn@zurich.com                           POTENTIAL INDEMNIFICATION CLAIM                        UNLIQUIDATED,                                                                         UNDETERMINED
       AUSTRASSE 46
                                                                                                                                                                                                        DISPUTED
       ZURICH, 8045
       SWITZERLAND

    A. On a consolidated basis. The information herein shall not constitute an admission of liability by, nor is it binding on, any Debtors with respect to all or any portion of the claims listed below. Moreover, nothing herein shall affect any Debtor's right to challenge the amount or characterization of
       any claim at a later date.




Official Form 204                                                                                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                                                                                                                page 4
                Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 12 of 38



    Fill in this information to identify the case and this filing:

   Debtor Name          Katerra Inc.

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other documents that require a declaration                     List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Marc Liebman
                                       06/06/2021
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Marc Liebman
                                                                                 Printed name
                                                                                 Chief Transformation Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
         Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 13 of 38




                         OMNIBUS RESOLUTIONS OF THE BOARD

                                            June 6, 2021

The board of managers, board of directors, sole member, managers, general partner, or managing
member, as applicable (the “Board”) of each of the entities listed on Exhibit A hereto (collectively,
the “Company”), having considered the filing of voluntary petitions for relief under the provisions
of title 11 of the United States Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy Code”) for
the Company and, if applicable, local proceedings for the Company pursuant to applicable law and
in accordance with the requirements of the Company’s governing documents and applicable law
(the “Restructuring Matters”), has reviewed and considered certain materials presented by the
management of the Company and the Company’s financial and legal advisors, including, but not
limited to, materials regarding the liabilities and obligations of the Company, its liquidity, the
strategic alternatives available to it, and the effect of the foregoing on the Company’s business,
and has had adequate opportunity to consult such persons regarding the materials presented, obtain
additional information, and fully consider each of the strategic alternatives available to
the Company, and therefore be it RESOLVED THAT:

1.      VOLUNTARY PETITIONS FOR RELIEF UNDER APPLICABLE
        BANKRUPTCY LAW AND SEEKING NECESSARY RELIEF

     A. In the judgment of the Board, it is desirable and in the best interest of the Company, its
        interest holders, its creditors, and other parties in interest, that the Company file or cause
        to be filed voluntary petitions for relief (the “Bankruptcy Petitions”) under the provisions
        of the Bankruptcy Code in the United States Bankruptcy Court for the Southern District of
        Texas or such other court of competent jurisdiction (the “Bankruptcy Court”) for
        the Company and any of its subsidiaries, any applicable foreign ancillary proceedings for
        the Company and, in accordance with the requirements of the Company’s governing
        documents and applicable law, the Board hereby consents to, authorizes, and approves the
        filing of the Bankruptcy Petitions and foreign ancillary proceedings, if any; and

     B. Any partner, director, manager, or other duly appointed officer of the Company
        (collectively, the “Authorized Persons”) is hereby authorized and appointed to act as
        signatory and attorney on behalf of the Company in respect of the Restructuring Matters
        and/or any person to whom such Authorized Persons and/or officers delegate certain
        responsibilities is hereby authorized to execute (under the common seal of the Company,
        if appropriate) and file on behalf of the Company and its subsidiaries all petitions,
        schedules, lists, and other motions, papers, or documents, and to take any and all actions
        they deem necessary or proper to obtain such relief, including, but not limited to, any action
        necessary or proper to maintain the ordinary course operations of the Company and/or any
        of its subsidiaries.

2.      RETENTION OF PROFESSIONALS

     A. Each of the Authorized Persons is hereby authorized, empowered, and directed to employ:
        (i) the law firm of Kirkland & Ellis LLP as general bankruptcy counsel; (ii) the law firm
         Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 14 of 38




        of Jackson Walker LLP as co-bankruptcy counsel; (iii) Houlihan Lokey Capital, Inc. as
        investment banker; (iv) Alvarez & Marsal North America, LLC as financial and
        restructuring advisor; (v) Prime Clerk LLC as claims and noticing agent; and (vi) any other
        legal counsel, accountant, financial advisor, restructuring advisor, or other professional
        the Authorized Persons deem necessary, appropriate, or advisable to retain; each to
        represent and assist the Company in carrying out its duties and responsibilities and
        exercising its rights under the Bankruptcy Code and any applicable law (including, but not
        limited to, the law firms filing any pleadings or responses); and in connection therewith,
        the Authorized Persons are hereby authorized, empowered, and directed, in accordance
        with the terms and conditions hereof, to execute (under the common seal of the Company,
        if appropriate) appropriate retention agreements, pay appropriate retainers, and to cause to
        be filed appropriate applications for authority to retain such services; and

     B. Each of the Authorized Persons is hereby authorized, empowered, and directed to execute
        (under the common seal of the Company, if appropriate) and file all petitions, schedules,
        motions, lists, applications, pleadings, and other papers, and to perform such further actions
        and execute (under the common seal of the Company, if appropriate) such further
        documentation that the Authorized Persons in their absolute discretion deem necessary,
        appropriate, or desirable in accordance with these resolutions.

3.      DEBTOR-IN-POSSESSION FINANCING

     A. In the judgment of the special committee comprised of independent directors of the Board
        of Katerra Inc. (Cayman) (the “Special Committee”) and the Board of each of the other
        entities listed on Exhibit A hereto:

                (a)     It is desirable and in the best interest of the Company, its interest holders,
        its creditors, and other parties in interest, to obtain the benefits of the incurrence of
        debtor-in-possession financing obligations (the “DIP Financing”) to be documented in
        proposed interim and final orders (respectively, the “Interim DIP Order” and the “Final
        DIP Order” and together, the “DIP Orders”) to be submitted for approval of the
        Bankruptcy Court;

                (b)     The form, terms, and provisions of the DIP Orders to which the Company
        is or will be subject, as applicable, and the actions and transactions contemplated thereby
        are authorized, adopted, and approved, and to the extent applicable, the Authorized
        Persons are hereby authorized, directed, and empowered, in the name of, and on behalf
        of, the Company to take such actions and negotiate or cause to be prepared and
        negotiated and to execute, deliver, perform, and cause the performance of the DIP
        Orders, and such other agreements, certificates, instruments, receipts, petitions, motions,
        or other papers or documents required to consummate the transaction contemplated by
        the DIP Orders to which the Company is or will be a party, including, but not limited to,
        any security and pledge agreement or guaranty agreement (collectively with the DIP
        Orders, the “DIP Documents”), incur and pay or cause to be paid all fees and expenses
        and engage such persons, in each case, in the form or substantially in the form thereof
        submitted to the Board, with such changes, additions, and modifications thereto as any of


                                                  2
Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 15 of 38




the Authorized Persons executing the same shall approve, such approval to be
conclusively evidenced by his or her execution and delivery thereof;

       (c)      To the extent applicable to the Company, the Authorized Persons are
hereby authorized, directed, and empowered in the name of, and on behalf of, the
Company to undertake any and all transactions on substantially the same terms as
contemplated under the DIP Documents (collectively, the “DIP Transactions”), including
granting liens on its assets to secure such obligations;

        (d)      To the extent applicable, the Authorized Persons are hereby authorized,
directed, and empowered in the name of, and on behalf of, the Company to take such
actions as in their discretion is determined to be necessary, desirable, or appropriate to
execute the DIP Transactions, including delivery of: (i) the DIP Documents and such
agreements, certificates, instruments, guaranties, notices, and any and all other related
documentation, including, without limitation, any amendments to any DIP Documents;
(ii) such other instruments, certificates, notices, assignments, and documents as may be
reasonably requested by the lender under the DIP Financing (the “DIP Lender”); and
(iii) such forms of account control agreements, officer’s certificates, and compliance
certificates as may be required by the DIP Documents (the documents described in
(i) through (iii) of this paragraph, collectively, the “DIP Financing Documents”);

        (e)     To the extent applicable, the Authorized Persons are hereby authorized,
directed, and empowered in the name of, and on behalf of, the Company to file or to
authorize the DIP Lender to file any Uniform Commercial Code (“UCC”) financing
statements, any other equivalent filings, any intellectual property filings and recordation,
and/or any necessary assignments for security or other documents in the name of
the Company that the DIP Lender deems necessary or appropriate to perfect any lien or
security interest granted pursuant to the DIP Orders, including any such UCC financing
statement containing a generic description of collateral, such as “all assets,” “all property
now or hereafter acquired,” and other descriptions of similar import, and to execute and
deliver, and to record or authorize the recording of, such mortgages and deeds of trust in
respect of real property of the Company and such other filings in respect of intellectual
and other property of the Company, in each case as the DIP Lender may reasonably
request to perfect the security interests of the DIP Lender under the DIP Orders; and

        (f)      To the extent applicable, the Authorized Persons are hereby authorized,
directed, and empowered in the name of, and on behalf of, the Company to take all such
further actions, including, without limitation, to pay or approve the payment of all fees
and expenses payable in connection with the DIP Transactions and all fees and expenses
incurred by or on behalf of the Company in connection with the foregoing resolutions, in
accordance with the terms of the DIP Documents, which shall in their sole judgment be
necessary, proper, or advisable to perform the Company’s obligations under or in
connection with any of the DIP Documents and the transactions contemplated therein and
to carry out fully the intent of the foregoing resolutions.




                                         3
         Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 16 of 38




4.      DE MINIMIS ASSET SALES

     A. In the judgment of each applicable Board, it is desirable and in the best interest of the
        Company, its interest holders, its creditors, and other parties in interest, that the Company
        or its applicable affiliate or subsidiary enter into and consummate the respective sales of
        the Lord Aeck Sargent and Renovations business lines (collectively,
        the “Sale Transactions”), subject in each case to approval by the Bankruptcy Court.

     B. The Sale Transactions and the respective form, terms, and provisions of the agreements to
        which the applicable seller-entity is or will be subject, as applicable, and the actions and
        transactions contemplated thereby are authorized, adopted, and approved by the applicable
        Board, subject in each case to approval of the respective Sale Transaction by the
        Bankruptcy Court, and to the extent applicable, the Authorized Persons are hereby
        authorized, directed, and empowered, in the name of, and on behalf of, the Company and
        each applicable seller-entity to take such actions and negotiate or cause to be prepared and
        negotiated and to execute, deliver, perform, and cause the performance of all agreements,
        and such other certificates, instruments, receipts, petitions, motions, or other papers or
        documents necessary or desirable to consummate the Sale Transactions, in each case,
        consistent with or substantially consistent with the terms presented to the Board, with such
        changes, additions, and modifications thereto as any of the Authorized Persons shall
        approve, such approval to be conclusively evidenced by his or her execution and delivery
        of the documentation related thereto.


5.      FURTHER ACTIONS AND PRIOR ACTIONS

     A. The Board hereby authorizes any direct or indirect subsidiary of the Company or any entity
        of which the Company or any subsidiary of such Company is the sole member, general
        partner, or managing member, as applicable, to take each of the actions described in these
        resolutions or any of the actions authorized in these resolutions, and none of the resolutions
        contained herein, or action taken in furtherance hereto, shall have or cause an adverse effect
        on any such subsidiary or the Company’s interest therein (including without limitation, any
        automatic dissolution, divestiture, dissociation, or like event under applicable law);

     B. In addition to the specific authorizations heretofore conferred upon the Authorized Persons,
        the Authorized Persons, either individually or as otherwise required by the Company’s
        governing documents and applicable law, are hereby authorized to execute (under the
        common seal of the Company if appropriate), acknowledge, deliver, and file any and all
        agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds,
        and other documents on behalf of the Company relating to the Restructuring Matters;

     C. Each of the Authorized Persons (and their designees and delegates) is hereby authorized
        and empowered, in the name of and on behalf of the Company, to take or cause to be taken
        any and all such other and further action, and to execute (under the common seal of
        the Company, if appropriate), acknowledge, deliver, and file any and all such agreements,
        certificates, instruments, and other documents and to pay all expenses, including but not
        limited to filing fees, in each case as in such Authorized Person’s or Authorized Persons’

                                                  4
    Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 17 of 38




   absolute discretion, shall be necessary, appropriate, or desirable in order to fully carry out
   the intent and accomplish the purposes of the resolution adopted herein;

D. The Board has received sufficient notice of the actions and transactions relating to the
   matters contemplated by the foregoing resolutions, as may be required by the governing
   documents of the Company, or hereby waives any right to have received such notice;

E. All acts, actions, and transactions relating to the matters contemplated by the foregoing
   resolutions done in the name of and on behalf of the Company, which acts would have been
   approved by the foregoing resolutions except that such acts were taken before the adoption
   of these resolutions, are hereby in all respects approved, confirmed, and ratified as the true
   acts and deeds of the Company with the same force and effect as if each such act,
   transaction, agreement, or certificate had been specifically authorized in advance by
   resolution of the Board; and

F. Any Authorized Person is hereby authorized to perform all other acts, deeds, and other
   actions as the Company itself may perform, in accordance with its governing documents
   and applicable law, howsoever arising in connection with the matters above, or in
   furtherance of the intentions expressed in the foregoing resolutions, including, but not
   limited to, the negotiation, finalization, execution (under common seal, whether or not
   expressed to be a deed, as may be necessary or appropriate), and delivery of any other
   agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds,
   and other documents whatsoever as the individual acting may in his/her absolute and
   unfettered discretion approve, deem or determine necessary, appropriate or advisable, such
   approval, deeming or determination to be conclusively evidenced by said individual taking
   such action or the execution thereof.

                                 [Signature pages follow]




                                             5
Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 18 of 38
Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 19 of 38
Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 20 of 38
Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 21 of 38
Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 22 of 38
Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 23 of 38
Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 24 of 38
Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 25 of 38
Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 26 of 38
Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 27 of 38
       Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 28 of 38




                IN WITNESS WHEREOF, the undersigned has executed this consent as of the date
first written above.



                                                  Pamela Corrie



                                                   Harvey Tepner


                                                  BEING ALL OF THE MANAGERS OF
                                                  EDGE@ LOHI, LLC
                                                  BRISTLECONE 28TH AVE, LLC
                                                  BRISTLECONE RESIDENTIAL, LLC


                                                  EDGE@ LOHI, LLC

                                                  BY: Katerra Construction LLC, as its sole




                                                              ansformation Officer

                                                  BRISTLECONE 28TH AVE, LLC

                                                  BY: Katerra Construction LLC, as its sole
                                                  member



                                                  Marc Liebman
                                                  Its: Chief Transformation Officer

                                                  BRISTLECONE RESIDENTIAL, LLC

                                                  BY: Katerra Construction LLC, as its sole
                                                  member



                                                  Marc Liebman
                                                  Its: Chief Transformation Officer

                                      Signature Page to
                                      Omnibus Consent
Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 29 of 38
Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 30 of 38
Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 31 of 38
Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 32 of 38
Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 33 of 38
Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 34 of 38
DocuSign Envelope ID: 918338C0-F26C-4ED0-8620-BDB9051AA3FB
                     Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 35 of 38




                            IN WITNESS WHEREOF, the undersigned has executed this consent as of the date
            first written above.


                                                             _______________________________
                                                             Kyley Harvey

                                                             _______________________________
                                                             Grant Seaman


                                                             BEING THE BOARD OF MANAGERS OF
                                                             KATERRA ARCHITECTURE LLC


                                                             KATERRA INC.


                                                             _______________________________
                                                             Marc Liebman
                                                             Its: Chief Transformation Officer
                                                             BEING THE SOLE MEMBER OF
                                                             KATERRA ENGINEERING, LLC
Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 36 of 38
       Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 37 of 38




                                        EXHIBIT A

                                       Filing Entities

Katerra Inc. (Cayman)

AlgoSquare Inc.

Apollo Technologies, Inc.

Bristlecone 28th Ave, LLC

Bristlecone Residential, LLC

CAPGro Construction Management, LLC

Construction Assurance Ltd.

Dangoo Electronics (USA) Co., Ltd.

Edge @ LoHi, LLC

Hillsboro 1 Project LLC

Hillsboro 1 Project MM LLC

Hillsboro 2 Project LLC

Hillsboro 2 Project MM LLC

Katerra Affordable Housing LLC

Katerra Architecture LLC

Katerra Construction LLC

Katerra Engineering LLC

Katerra Inc. (Delaware)

Katerra Pearson Ranch Investment LLC

Katerra Pegasus RiNo Investment LLC

Katerra RO2 Knipe Village Investment LLC

Katerra XSC Houston Investment LLC

Kirkland 1 Project LLC
       Case 21-31861 Document 1 Filed in TXSB on 06/06/21 Page 38 of 38




Kirkland 1 Project MM LLC

Kirkland 2 Project LLC

Kirkland 2 Project MM LLC

Lord, Aeck & Sargent, Inc.

Perimeter Building Services LLC

Roots Software, LLC

Skyview Concrete LLC

UEB Builders, Inc.

Valpico Glenbriar Apartments LLC

WM Aviation, LLC
